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From:            Enslin, Sharda
To:              Kira Kelley
Cc:              Karmen McQuitty; Robertson, Heather (she/her/hers); Sarff, Kristin; Claire Glenn
Subject:         RE: [EXTERNAL] Re: Settlement Proposal
Date:            Monday, December 2, 2024 9:44:00 AM


Hi Kira,

Good news! Our designee has had a schedule change and is now available on December 10 to sit for
the 30(b)(6) deposition. So no need for an extension.

I will say I was a bit confused about the “buffer” period you kept referencing. I originally assumed
you wanted a buffer period to accommodate possible scheduling issues with the 30(b)(6) deposition,
but your last email suggested that perhaps you were you talking about creating a new discovery
deadline for you to serve written discovery? As I’m sure you’re aware, the deadline to serve written
discovery requests has passed and just to clarify, we’re not interested in stipulating to extending it.

I do feel as though you and I have had several conversions generally about settlement, and our relay
to you has always been that it would be next to impossible for the City to enter into any settlement
that proposed specific actions/ordinance changes/land transfers/etc. given that the same or similar
issues are actively under engagement by the current administration.

At your earliest convenience, please send a depo notice for Dec. 10 with the time and location so
that I can update my witness.

Many thanks,
Sharda


From: Kira Kelley <kira@climatedefenseproject.org>
Sent: Friday, November 29, 2024 8:54 AM
To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>
Cc: Karmen McQuitty <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
<Heather.Robertson@minneapolismn.gov>; Sarff, Kristin <Kristin.Sarff@minneapolismn.gov>; Claire
Glenn <claire@climatedefenseproject.org>
Subject: Re: [EXTERNAL] Re: Settlement Proposal

Hi Sharda,

Given that we're still waiting on a response from you regarding the settlement offer set in
September and had intended to give you all a good faith chance to settle before serving
interrogatories, RFAs, and other depo notices, and that this deposition has taken more than
two months to schedule, a one-month stipulated extension (to Jan 15) seems appropriate
and would give us some buffer in case the City representative has a conflict that comes up.
If the judge doesn't approve our stipulation, we can always make adjustments from there.

Best,



                                                                                                        Exhibit M
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Kira


____________________
Kira Kelley (they/she)
Staff Attorney  
Climate Defense Project
climatedefenseproject.org




On Wed, Nov 27, 2024 at 1:49 PM Enslin, Sharda <sharda.enslin@minneapolismn.gov> wrote:

   Why don’t we stipulate to extending the discovery completion period to Dec. 22? That gives us an
   additional week from the current deadline and should be plenty of time if we can schedule the
   depo for the 17th or 18th. Leung won’t be inclined to extend the discovery period without good
   cause, so I can write up a joint stip with an explanation that the need for the extension is based on
   the deponent’s limited availability. Let me know if that works. Thanks!


   From: Kira Kelley <kira@climatedefenseproject.org>
   Sent: Wednesday, November 27, 2024 11:09 AM
   To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>
   Cc: Karmen McQuitty <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
   <Heather.Robertson@minneapolismn.gov>; Sarff, Kristin <Kristin.Sarff@minneapolismn.gov>;
   Claire Glenn <claire@climatedefenseproject.org>
   Subject: Re: [EXTERNAL] Re: Settlement Proposal

   Hi Sharda,

   Would you be willing to stipulate to an extension of the December 15th fact deadline by a few
   weeks just to give us all a buffer? We could schedule the evidentiary depo on the 17th or 18th if
   so.

   Best,

   Kira

   On Wed, Nov 27, 2024, 6:33 AM Enslin, Sharda <sharda.enslin@minneapolismn.gov> wrote:
       Hi Kira – turns out that while I’m available the week of Dec. 9, our deponent is not. However,
       both he and I are available on Dec. 17th or 18th. Would either of those dates work for you?
       Technically this falls a couple days outside of our discovery period, but given that the parties
       have been planning on conducting this deposition for a while now, if we’re both in agreement
       and it’s the only date that works for the witness, I think it’s fine.




                                                                                             Exhibit M
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From: Kira Kelley <kira@climatedefenseproject.org>
Sent: Tuesday, November 26, 2024 10:21 AM
To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>
Cc: Karmen McQuitty <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
<Heather.Robertson@minneapolismn.gov>; Sarff, Kristin <Kristin.Sarff@minneapolismn.gov>;
Claire Glenn <claire@climatedefenseproject.org>
Subject: Re: [EXTERNAL] Re: Settlement Proposal

Hi Sharda,

I sent it to you on September 13, with the changes we'd discussed in our phone call.
Let me know if you can't find that thread and I will bump it in your inbox! I'll re-
attach the updated list here as well for your convenience.

The week of Dec 9th is pretty open for me, I'll confer with my cocounsel. Did you
have any specific days/times in mind?

Best,

Kira

____________________
Kira Kelley (they/she)
Staff Attorney  
Climate Defense Project
climatedefenseproject.org




On Mon, Nov 25, 2024 at 7:18 AM Enslin, Sharda <sharda.enslin@minneapolismn.gov> wrote:
   Hi Kira, did you ever send me an updated list of topics? What is your availability the week of
   December 9th?


   From: Kira Kelley <kira@climatedefenseproject.org>
   Sent: Thursday, November 21, 2024 5:18 PM
   To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>; Karmen McQuitty
   <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
   <Heather.Robertson@minneapolismn.gov>; Sarff, Kristin
   <Kristin.Sarff@minneapolismn.gov>; Claire Glenn <claire@climatedefenseproject.org>
   Subject: [EXTERNAL] Re: Settlement Proposal

   Hi Sharda,

   Just wanted to follow up on this, and to check in on when the City would be
   available for a deposition.

   Hope you are well!

   Kira

                                                                                       Exhibit M
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                         ____________________
                         Kira Kelley (they/she)
                         Staff Attorney  
                         Climate Defense Project
                         climatedefenseproject.org




                                                                          Exhibit M
